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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND


Rebecca Moore

      Plaintiff,


V.                                                     CIVIL ACTION NO.
                                                       1:12-cv-01486-JKB


Franklin Collection Service, Inc.

      Defendant.                                       OCTOBER 2, 2012


                           NOTICE OF DISSMISSAL

The plaintiff through her attorney Bernard T. Kennedy stipulates that the claims in

the above-entitled action shall be dismissed with prejudice and without costs.




                                                THE PLAINTIFF

                                                BY/S/Bernard T. Kennedy
                                                Bernard T. Kennedy, Esquire
                                                The Kennedy Law Firm
                                                P.O. Box 657
                                                Edgewater, MD 21037
                                                Ph (443) 607-8901
                                                Fax (443) 607-8903
                                                Fed. Bar # Md26843
                                                bernardtkennedy@yahoo.com
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                                  CERTIFICATION

I hereby certify that on 10/2/12 a copy of the foregoing was filed electronically
and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated
on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.




BY/S/Bernard T. Kennedy
